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                                                                                      Doc~ 2023001400
                                                                                      03/07/2023 03:06 PM HPages 4
                                                                                      Official. Re,:ords of ST Tf-KlttAS / ST JCWI
                                                                                      ERICA [OVER H.P .A., F!CORDER ~ DEHIS
                                                                                      Fees $38,866.00




                                                    WARRANTY DEED


                   THIS INDENTURE, made this~ day of December, 2022, by ANJA SALAMA CK (herein
           referred to as "Grantor"), and NORTHSHORE VI, LLC, a U.S. Virgin Islands limited liability
           company whose mailing address is P.O. Box 302147, St. Thomas, VI 00803 (herein referred to as
           "Grantee");

                   WITNESSETH:           That the Grantor, for and in consideration of the sum of ONE
           MILLION TWO HUNDRED FIFTY THOUSAND and 00/100 DOLLARS ($1,250,000.00), and
           other valuable consideration, receipt of which is hereby acknowledged, does hereby bargain, sell, grant
           and release unto the Grantee, its successors and assigns, in fee simple absolute, all of that certain lot,
           piece of parcel of land, situate, lying and being in St. Thomas, U.S. Virgin Islands, known and
           designated as:

                                      ~arcel No. 17-5B Estate St. Peter
                            ·(          No. 2 Little Northside Quarter
                                        St. Thomas, U.S. Virgin Islands
                                        consisting of approximately 0.500 U.S. acres, more or less
                                        as shown on P.W.D. No. D9-7184-T003
                           :::          (hereinafter the "Property")
                            ',(
                           .'
                   TOGETtIER WITH all rights, title and interest, if any, of the Grantor, in and to any easements
           of record serving the property, including but not limited to easements for ingress and egress over estate
           roads, all as of record appear, and all rights, title and interest, if any, of the Grantor, in and to any
           streets and roads abutting the property and all improvements and appurtenances thereunto belonging,
           and all the estate, title and rights of the Grantor in and to the property;

                  SUBJECJ', HOWEVER, to Virgin Islands zoning regulations, and to covenants, restrictions
           and easements of record;

                  TO HAVE AND TO HOLD the premises conveyed hereby unto Grantee, its successors and #
           assigns, in fee si.mple absolute forever;                                                r,J
                                                                                                    0
                              r                                                                     r·.J
                  AND Tij~ GRANTOR WARRANTS as follows:                                             (.,J
                                                                                                                                 0
                            ~                                                                                                    0
                      1.   T)-iat Grantor is seized of said premises in fee simple absolute, and has good right to 1-
                                                                                                                   ~
                           c9nvey the same;                                                                        CJ
                                                                                                                                 Cl
                  2.       That the Grantee shall quietly enjoy the said premises;

                  3.
                           -
                           1')1at the said premises are free from encumbrances, except as aforesaid;




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            Warranty Deed
            Salamack to Northshore VI, LLC
            Page2of2         ·'




                       4.      That the Grantor will execute or procure any further necessary assurance of the title to
                               said premises; and

                       5.      That Grantor will forever warrant and defend the title to said premises

                       IN WITNESS WHEREOF, the Grantor has duly executed this Warranty Deed as of the day and
            year first above.J ~ritten.

            Witnesses (two separate):



                                                                               ANJA SALAMACK




                                  I
                                .I
                                                           ACKNOWLEDGMENT
                                 ~.·
            TERRITORY OF THE U.S. VIRGIN ISLANDS                                        )
                                                                                        ) SS:
            DISTRICT OJtfiT. THOMAS AND ST. JOHN                                        )
                                (~
                       On this • ·.J.- day of December, 2022, before me, the undersigned officer, personally appeared
            ANJA SALA!Yi,ACK, known to me, or satisfactorily proven to be, the person whose name is
            subscribed to tl.i;'I! within instrument and acknowledged that she executed the same for the purposes
            therein containe~d.
                                                                                                                                    t;:1
                                                                     ereunto set my hand and official seal.                         ,,0
                                                                                                                                    :
                                                                                                                                    N
                                                                                                                                    0
                                                                                                                                    r,J
                                         My Commission Expires:                                                                     (,,j
                                                                                                                                    0
                                                                                                                                    0
                                                                                                                                    ~
                                                       GINA MARIE BRYAN                                                             ~
                                                         Notary Pubic                                                               0
                                              St ThomaslSt. John, U.S. Virgin Islands                                               0
                                                            NP--486-21
                                             My Convnission Expires Seplember 1, 2025




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         NO fED IN;·:-;;:: C,,,' • ,.,        ·,L. RECORDS
      FOR COUNTRY/ TO-/ .;i\J 1 • , .          :~TY, BOOr< FCi-'..'.

      ESTATE ST. PETER
      N0.2 LITTLE NORTHSIDE QU_ART
                               _ _ER
                                   _ _ _ __

      ST. THOMAS VIRGIN ISLANDS
      - - - - - - -- - - ~        • • • • • 'J........ ., · -- - -




                                           DECEMBER 7, 2022




         to    WARRANTY D'EED D~TEQ DECEMBER 2. 2022
         belongs to:    NOR,n!SHORE .YI, LLC (GRANTEE]


         has not accordil;}~ lo ti::r·• i acord of this offic,a,
         undergone changes,,:, ,o : Jundaries and area.


                                                 CEMBER 7, 2022


                                             0r / Public Surveyor


                           .:,,
                           ''-'




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                                                                        □
                                       OFFICE OF THE LIEUTENANT GOVERNOR
                                                   DIVISION OF THE TAX COLLECTOR
                                     5049 ko&en, Gade• Charlott• Amalle, Vlrcln Islands 00802 • 340.774.2991 • Fax 340.779.7825

                                       1105 ICln& StrNI · Chrlstlansted, Vl,cln Islands 00820 • 340.773.6449 • Fax 340.719. 2355




                                        REAL PROPERTY TAX CLEARANCE CERTIFICATE


                                              TO ALL WHOM THESE PRESENTS SHALL COME

                                In accordance with 28 V.I.C. §121, as amended, I hereby certffy that there
                                are no outstanding Real Property Tax obligations for the following parcel:

                      PARCEL NUMBER                       1-01203-0166-00

                      CERT NUMBER                         2022-60827878

                      LEGAL D'E'SCRIPTION                 17-58 ESTATE ST.PETER #2 LT.NORTHSIDE QTR


                      OWNER'S NAME                        WILSON, KEMAR R. and CHRI STINA M. GHALY


                             i
                 Taxes have b,een researched up to and including 2022




                 CERTIFIED TRUE AND CORRECT BY
                             '(-
                 Brent A, L·eerdam
                 Real Prope~ y Tax Collector




                 SIGNATUR~,
                 12/02/2022
                 DATE        ;,,

                             ..,_,


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